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 9                                IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                     ) CASE NO. 2:15-CR-00177 GEB
12                                                 )
                                   Plaintiff,      )             ORDER SEALING THE
13                                                 )   GOVERNMENT’S MOTION PURSUANT TO
                           v.                      )                U.S.S.G. § 5K1.1
14                                                 )
     JASON MATECKI,                                )
15                                                 )
                                                   )
16                                 Defendant.      )
                                                   )
17                                                 )
                                                   )
18                                                 )

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20          Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s

21 Request to Seal, IT IS HEREBY ORDERED that the United States’s motion pursuant to U.S.S.G. §

22 5K1.1 for defendant Jason MATECKI and the Government’s Request to Seal shall be SEALED until

23 further order of this Court.

24          Dated: September 22, 2017

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